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IN THE UNITED STATES BANKRUPTCY COURT

FOR THE DISTRICT OF DELAWARE hat = |

In re: ) Chapter 11
)
W. R. GRACE & CO., et al.,' ) Case No. 01-01139 (JJF)
) Jointly Administered
Debtors. )

NOTICE OF AGENDA OF MATTERS SCHEDULED
FOR HEARING ON MAY 3, 2001 AT 8:00 A.M.

UNCONTESTED MATTERS

Certifications of No Objection will be filed today with respect to the following pleadings:

l. Application by the Debtors for Entry of an Order Pursuant to 11 U.S.C. § 327(a)
and Fed. R. Bankr. P. 2014(a) Authorizing the Employment and Retention of Kirkland & Ellis as
Attorneys for the Debtors and Debtors in Possession (Docket No. 10)

ii Application by the Debtors for Order Under Section 327(a) of the Bankruptcy
Code Authorizing the Employment and Retention of Pachulski, Stang, Ziehl, Young & Jones
P.C. as Co-counsel for the Debtors and Debtors in Possession (Docket No. 11)

3 Application of the Debtors for Entry of an Order Pursuant to 11 U.S.C. §$ 327(a)
and 328(a) and Fed. R. Bankr. P. 2014(a), 2016 and 5002 Authorizing the Employment and
Retention of The Blackstone Group L.P. as Financial Advisor to the Debtors and Debtors in
Possession (Docket No. 13)

4, Application of the Debtors for Order Pursuant to 11 U.S.C. §§ 327(a) and 328 and
Fed. R. Bankr. P. 2014(a), 2016 and 5002 Authorizing the Employment and Retention of Kekst
and Company Incorporated as Public Relations Consultant to the Debtors and Debtors in
Possession (Docket No. 15)

' The Debtors consist of the following 62 entities: W. R. Grace & Co. (f/k/a Grace Specialty Chemicals, Inc.), W. R. Grace &
Co.-Conn., A-1 Bit & Tool Co., Inc., Alewife Boston Ltd., Alewife Land Corporation, Amicon, Inc., CB Biomedical, Inc. (f/k/a
Circe Biomedical, Inc.), CCHP, Inc., Coalgrace, Inc., Coalgrace II, Inc., Creative Food "N Fun Company, Darex Puerto Rico,
Inc., Del Taco Restaurants, Inc., Dewey and Almy, LLC (f/k/a Dewey and Almy Company), Ecarg, Inc., Five Alewife Boston
Ltd., G C Limited Partners I, Inc. (f/k/a Grace Cocoa Limited Partners I, Inc.), G C Management, Inc. (f/k/a Grace Cocoa
Management, Inc.), GEC Management Corporation, GN Holdings, Inc., GPC Thomasville Corp., Gloucester New Communities
Company, Inc., Grace A-B Inc., Grace A-B II Inc., Grace Chemical Company of Cuba, Grace Culinary Systems, Inc., Grace
Drilling Company, Grace Energy Corporation, Grace Environmental, Inc., Grace Europe, Inc., Grace H-G Inc., Grace H-G II
Inc., Grace Hotel Services Corporation, Grace International Holdings, Inc. (f/k/a Dearborn International Holdings, Inc.), Grace
Offshore Company, Grace PAR Corporation, Grace Petroleum Libya Incorporated, Grace Tarpon Investors, Inc., Grace Ventures
Corp., Grace Washington, Inc., W. R. Grace Capital Corporation, W. R. Grace Land Corporation, Gracoal, Inc., Gracoal Il, Inc.,
Guanica-Caribe Land Development Corporation, Hanover Square Corporation, Homco International, Inc., Kootenai
Development Company, L B Realty, Inc., Litigation Management, Inc. (f/k/a GHSC Holding, Inc., Grace JVH, Inc., Asbestos
Management, Inc.), Monolith Enterprises, Incorporated, Monroe Street, Inc., MRA Holdings Corp. (f/k/a Nestor-BNA Holdings
Corporation), MRA Intermedco, Inc. (f/k/a Nestor-BNA, Inc.), MRA Staffing Systems, Inc. (f/k/a British Nursing Association,
Inc.), Remedium Group, Inc. (f/k/a Environmental Liability Management, Inc., E&C Liquidating Corp., Emerson & Cuming,
Inc.), Southern Oil, Resin & Fiberglass, Inc., Water Street Corporation, Axial Basin Ranch Company, CC Partners (f/k/a co AC

Country Staffing), Hayden-Gulch West Coal Company, H-G Coal Company.
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5, Application of the Debtors for the Entry of an Order Authorizing the Retention
and Employment of Wachtell, Lipton, Rosen & Katz as Special Corporate Counsel for the
Debtors (Docket No. 16)

No objections to the following pleadings have been filed and the Debtors will submit a
revised order with respect to such pleadings.

6. Application of the Debtors for Entry of an Order Pursuant to 11 U.S.C. §§
1107(a) and 1108 Authorizing the Debtors to Employ and Compensate Certain Professionals
Utilized in the Ordinary Course of the Debtors’ Business (Docket No. 28)

n Motion of the Debtors for Entry of an Administrative Order Under 11 U.S.C. §§
105(a) and 331 Establishing Procedures for Interim Compensation and Reimbursement of
Expenses for Professionals and Official Committee Members (Docket No 29)

8. Motion of the Debtors for Entry of an Order (A) Deeming Utilities Adequately
Assured of Future Performance and (B) Establishing Procedure for Determining Adequate
Assurances Pursuant to 11 U.S.C. § 366 (Docket No. 30)

CONTESTED MATTERS

9. Motion for Temporary Restraining Order and Preliminary Injunction Staying all
Asbestos Related and Fraudulent Transfer Claims Against Affiliated Entities (the “Motion”)
(Adv. Pro. No. A-01-771, Docket No. 2)

Related Documents:

a. Complaint for Declaratory and Injunctive Relief (Adv. Pro. No. A-01-771, Docket
No. 1)

b. Memorandum of Law in Support of Motion for Temporary Restraining Order and
Preliminary Injunction (Adv. Pro. No. A-01-771, Docket No. 3)

c. Declaration of David B. Siegel in Support of Complaint for Declaratory and
Injunctive Relief and Motion for Temporary Restraining Order and Preliminary Injunction (Adv.
Pro. No. A-01-771, Docket No. 4)

d. [Signed] Order Granting Temporary Restraining Order (the “Initial TRO”) (Adv.
Pro. No. A-01-771, Docket No. 6)

Ci [Signed] Order Extending Temporary Restraining Order (the “Extended TRO”)
(Adv. Pro. No. A-01-771, Docket No. 7)

f. Affidavit of H. Katherine White in Support of Debtors’ Motion for Preliminary
Injunction (Adv. Pro. No. A-01-771, Docket No. 8)

g. Notice of Plaintiff's Motion for a Preliminary Injunction Staying all Asbestos-
Related and Fraudulent Transfer Claims Against Affiliated Entities (Adv. Pro. No. A-01-771,
Docket No. 10)

h. Affidavit of Service re: Docket No. 10 (Adv. Pro. No. A-01-771, Docket No. 10)

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1, Amended Notice of Plaintiff's Motion for a Preliminary Injunction Staying all
Asbestos-Related and Fraudulent Transfer Claims Against Affiliated Entities (Adv. Pro. No. A-
01-771, Docket No. 11)

i Affidavit of Service re: Docket No. 11 (Adv. Pro. No. A-01-771, Docket No. 11)

k, [Signed] Order Granting Preliminary Injunction Pending Hearing (the
“Preliminary Injunction” and together with the Initial TRO and Extended TRO, the “Injunctive
Orders”)(Adv. Pro. No. A-01-771, Docket No. 13)

l. Certificate of Service re: Docket Nos. 1 and 11 (Adv. Pro. No. A-01-771, Docket
No. 15)

m. Declaration of Ronald J. Kuerbitz, Sr. Vice-President and General Counsel In
Support of Motion for Preliminary Injunction (Adv. Pro. No. A-01-771, Docket No. 14)

n. Certificate of Service re: Docket No. 2 (Adv. Pro. No. A-01-771, Docket No. 17)

oO. Supplemental Declaration of David B. Siegel in Support of Complaint for
Declaratory and Injunctive Relief and Motion for Preliminary Injunction Order (To be filed by
Debtors Today)

p. Debtors’ Omnibus Reply to Objections to Their Motion for a Preliminary
Injunction Staying All Asbestos-Related and Fraudulent Transfer Claims Against Affiliated
Entities (To be filed by Debtors Today)

Response Deadline: April 25, 2001 at 4:00 p.m.
Responses Received:

a. Opposition to Motion for Preliminary Injunction [Filed by Counsel to Joseph F.
Bellow, et al.] (Docket No. 18)

b. Partial Objection of Paul Price, Individually and as Proposed Class Representative
in In Re: Zonolite Attic Insulation Products Liability Litigation, MDL 1376, to Plaintiff's Motion
for a Preliminary Injunction Saying all Asbestos-Related and Fraudulent Transfer Claims
Against Affiliated Entities (Docket No. 19)

c. Response and Objection of the Official Committee of Property Damage Claimants
to the Debtors’ Motion for Temporary Restraining Order and Preliminary Injunction (Docket No.
20)

d. Abner Plaintiffs Memorandum of Law in Opposition to Plaintiffs’ Motion for a
Temporary Restraining Order and Preliminary Injunction Staying Fraudulent Transfer Claims
Against Affiliated Entities (Docket No. 21)

e. Memorandum of Law in Opposition to Plaintiffs’ Motion for a Temporary
Restraining Order and Preliminary Injunction Staying Fraudulent Transfer Claims Against
Affiliated Entities [Filed by Counsel to Margaret Chakarian, et al., and John Does 1-1000]
(Docket No. TBD)

E Official Committee of Unsecured Creditors’ Statement in Support of Plaintiffs’
Motion for a Preliminary Injunction Staying all Asbestos-Related and Fraudulent Transfer
Claims Against Affiliated Entities (Adv. Pro. No. A-01-771, Docket No. TBD)

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Status: The Injunctive Orders entered by the Court stay and enjoin further prosecution
of asbestos-related actions against certain affiliates of the Debtors through and including the
hearing. At the hearing, the Debtors will seek the entry of a preliminary injunction not only
staying and enjoining the prosecution of asbestos-related actions against certain affiliates of the
Debtors, but also staying and enjoining the prosecution of fraudulent transfer claims against
certain affiliates of the Debtors, as requested in the Motion. The Debtors also intend to request
that the definition of “Affiliated Entities” covered by the proposed injunction be amended to
include Merrill Lynch, Credit Suisse First Boston, Robinson Insulation and certain insurance
carriers which are defendants in direct action states.

10. | Emergency Motion for Interim and Final Orders, Under 11 U.S.C. §§105, 362, 363
and 364, Approving Post-Petition Financing and Related Relief and Setting Final Hearing
Pursuant to Bankruptcy Rule 4001(c) (Docket No. 25)

Related Documents:

a. [Signed] Interim Order Authorizing Secured Post-Petition Financing on a Priority
Basis Pursuant to 11 U.S.C. §364, Granting Relief from the Automatic Stay Pursuant to 11
U.S.C. §362 and Scheduling a Final Hearing (Docket No. 25)

b. Notice of Entry of Interim Order on Emergency Motion for Interim and Final
Orders, Under 11 U.S.C. §§105, 362, 363 and 364, Approving Post-Petition Financing and
Related Relief and Setting Final Hearing Pursuant to Bankruptcy Rule 4001(c) (Docket No. 43)

G: Affidavit of Service re: Docket No. 43 (Docket No. 43)
d. Affidavit of Service re: Docket No. 25 (Docket No. 57)

€. [Signed] Second Interim Order Authorizing Secured Post-Petition Financing on a
Priority Basis Pursuant to 11 U.S.C. §364, Granting Relief from the Automatic Stay Pursuant to
11 U.S.C. §362 and Scheduling a Final Hearing (Docket No. 119)

t Notice of Final Hearing and Entry of Second Interim Order Authorizing Secured
Post-Petition Financing on a Priority Basis Pursuant to 11 U.S.C. §364, Granting Relief from the
Automatic Stay Pursuant to 11 U.S.C. §362 and Scheduling a Final Hearing (Docket No. 124)

g. Affidavit of Service re: Docket No. 124 (Docket No. 124)
Response Deadline: April 25, 2001 at 4:00 p.m.
Responses Received:

a. Objection of Credit Lyonnais, New York Branch to Debtors’ Emergency Motion
for Interim and Final Orders, Under 11 U.S.C. §§105, 362 and 364 Approving Postpetition
Financing and Related Relief and Setting Final Hearing Pursuant to Bankruptcy Rule 4001(c)
(Docket No. 147)

b. Objection by the Official Committee of Property Damage Claimants to Emergency
Motion for Interim and Final Orders, Under 11 U.S.C. §§ 105, 362, 363 and 364, Approving
Postpetition Financing and Related Relief and Setting Final hearing Pursuant to Bankruptcy Rule
4001 (c) (Docket No. TBD)

ci Response to Objection of Credit Lyonnais, New York Branch, to Debtors’
Emergency Motion for Interim and Final Orders, Under 11 U.S.C. §§ 105, 362 and 364,

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Approving Postpetition Financing and Related Relief and Setting Final Hearing Pursuant to
Bankruptcy Rule 4001(c) (Docket No. TBD)

Status: The Debtors will seek entry of a final Order approving postpetition financing
and related relief.

11. | Motion of the Debtors for an Order, Under 11 U.S.C. §§ 105(a), 503(b), 546(c)
and 546(g), (A) Establishing Procedure for Treatment of Valid Reclamation Claims and (B)
Prohibiting Third Parties from Interfering with Delivery of the Debtors’ Goods (Docket No. 21)

Related Documents:

a. Notice of Motion of the Debtors for an Order Under 11. U.S.C. §§ 105(a), 503(b),
546(c) and 546(g), (A) Establishing Procedure for Treatment of Valid Reclamation Claims and
(B) Prohibiting Third Parties from Interfering with Delivery of the Debtors’ Goods (Docket No.
42)

b. [Proposed] Order Under 11. U.S.C. §§ 105(a), 503(b), 546(c) and 546(g), (A)
Establishing Procedure for Treatment of Valid Reclamation Claims and (B) Prohibiting Third
Parties from Interfering with Delivery of the Debtors’ Goods (Docket No. 21)

c: Affidavit of Service re: Docket No. 42 (Docket No. 42)
Response Deadline: April 18, 2001 at 4:00 p.m.
Responses Received:

a. Limited Objection of Soprema, Inc., to Motion of the Debtors for an Order, Under
11. U.S.C. §§ 105(a), 503(b), 546(c) and 546(g), (A) Establishing Procedure for Treatment of
Valid Reclamation Claims and (B) Prohibiting Third Parties from Interfering with Delivery of
the Debtors’ Goods (D.I. #0021) (Docket No. 116)

Status: This matter will be going forward.

12. Expedited Motion Pursuant to Local Bankruptcy Rule 9013-2(e), Bankruptcy
Rule 8002(b)(2) for Reconsideration and Alteration or Amendment of the First Day Order
Granting Debtors Authority for the Provisional Payment of Prepetition Claims of Domestic
Essential Trade Creditors and to Pay or Honor Prepetition Obligations to Foreign Vendors [Filed
by Counsel for Chase Manhattan Bank) (Docket No. 88)

Related Documents:

a. Notice of Motion (Docket No. 88)

b. [Proposed] Order Granting Pursuant to Bankruptcy Rule 9013-2(e), Bankruptcy
Rule 8002(b)(2) for Reconsideration and Alteration or Amendment of the First Day Order
Granting Debtors Authority for the Provisional Payment of Prepetition Claims of Domestic

Essential Trade Creditors and to Pay or Honor Prepetition Obligations to Foreign Vendors
(Docket No. 88)

c. Certificate of Service re: Docket No. 88 (Docket No. 88)

Response Deadline: The Movant has agreed to extend the deadline for Debtors to file a
response through and including May 1, 2001.

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Responses Received:

a. Response to the Motion of Chase Manhattan Bank for Reconsideration and
Alteration or Amendment of the First Day Order Granting Debtors Authority for
the Provisional Payment of Prepetition Claims of Domestic Essential Trade
Creditors and to Pay or Honor Prepetition Obligations to Foreign Vendors (To be filed today by
Debtors)

Status: This matter will be going forward.

13. Motion for Relief from the Automatic Stay of Paul Price, Individually and as
Proposed Class Representative in Jn Re: Zonolite Attic Insulation Products Liability Litigation,
MDL 1376 (the “Stay Relief Motion’) (Docket No. 148)

Related Documents:

a. Motion for Order Shortening Time (Docket No. 148)

b. [Proposed] Order Granting Relief from the Automatic Stay (Docket No. 148)

G, Certificate of Service re: Docket No. 148 (Docket No. 148)

d. Affidavit of Thomas M. Sobol, Esquire, In Support of Motion for Relief from
Automatic Stay (Docket No. 148 (a))

&. Memorandum in Support of Motion for Relief from the Automatic Stay of Paul
Price, Individually and as Proposed Class Representative in Jn Re: Zonolite Attic Insulation
Products Liability Litigation, MDL 1376 (Docket No. 150)

Response Deadline: May 1, 2001 at 4:00 p.m.

Reponses Received:

a. Debtors’ Opposition to Paul Price’s Motion to Shorten Time for Hearing on his
Motion to Lift Stay (Docket No. TBD)

Status: The Movant is seeking an expedited hearing on the Stay Relief Motion, which
the Debtors have opposed. The parties are awaiting the Court’s decision regarding the Movant’s

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request for an expedited hearing on the Stay Relief Motion.

Dated: May 1, 2001 KIRKLAND & ELLIS
James H.M. Sprayregen
James W. Kapp III
Samuel A. Schwartz
Roger J. Higgins
200 East Randolph Drive
Chicago, Illinois 60601
(312) 861-2000

and

a5 ( )
Hamid R. Ra fat 00 (CA Bar No. 181564)
David W. Carickhoff Jr. (Bar No. 3715)
919 North Market Street, 16" Floor
P.O. Box 8705
Wilmington, DE 19899-8705 (Courier 19801)
Telephone: (302) 652-4100
Facsimile: (302) 652-4400

Proposed Co-Counsel for the Debtors and
Debtors in Possession

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IN THE UNITED STATES BANKRUPTCY COURT

FOR THE DISTRICT OF DELAWARE

In re: ) Chapter 11

)
W.R. GRACE & CO., et al.,' ) Case No. 01-01139 (RIN)

) Jointly Administered

Debtors. )
AFFIDAVIT OF SERVICE
STATE OF DELAWARE )
)SS

COUNTY OF NEW CASTLE )

Patricia E. Cuniff, being duly sworn according to law, deposes and says that she is
employed by the law firm of Pachulski, Stang, Ziehl, Young & Jones P.C., co-counsel for the
Debtors, in the above-captioned action, and that on the 1" day of May, 2001 she caused a copy of

the following document(s) to be served upon the attached service list(s) in the manner indicated:

' The Debtors consist of the following 62 entities: W. R. Grace & Co. (f/k/a Grace Specialty Chemicals, Inc.), W. R. Grace &
Co.-Conn., A-1 Bit & Tool Co., Inc., Alewife Boston Ltd., Alewife Land Corporation, Amicon, Inc., CB Biomedical, Inc. (f/k/a
Circe Biomedical, Inc.), CCHP, Inc., Coalgrace, Inc., Coalgrace II, Inc., Creative Food *N Fun Company, Darex Puerto Rico,
Inc., Del Taco Restaurants, Inc., Dewey and Almy, LLC (f/k/a Dewey and Almy Company), Ecarg, Inc., Five Alewife Boston
Ltd., G C Limited Partners I, Inc. (f/k/a Grace Cocoa Limited Partners I, Inc.), G C Management, Inc. (f/k/a Grace Cocoa
Management, Inc.), GEC Management Corporation, GN Holdings, Inc., GPC Thomasville Corp., Gloucester New Communities
Company, Inc., Grace A-B Inc., Grace A-B II Inc., Grace Chemical Company of Cuba, Grace Culinary Systems, Inc., Grace
Drilling Company, Grace Energy Corporation, Grace Environmental, Inc., Grace Europe, Inc., Grace H-G Inc., Grace H-G I
Inc., Grace Hotel Services Corporation, Grace International Holdings, Inc. (f/k/a Dearborn International Holdings, Inc.), Grace
Offshore Company, Grace PAR Corporation, Grace Petroleum Libya Incorporated, Grace Tarpon Investors, Inc., Grace Ventures
Corp., Grace Washington, Inc., W. R. Grace Capital Corporation, W. R. Grace Land Corporation, Gracoal, Inc., Gracoal II, Inc.,
Guanica-Caribe Land Development Corporation, Hanover Square Corporation, Homco International, Inc., Kootenai
Development Company, L B Realty, Inc., Litigation Management, Inc. (f/k/a GHSC Holding, Inc., Grace JWH, Inc., Asbestos
Management, Inc.), Monolith Enterprises, Incorporated, Monroe Street, Inc.. MRA Holdings Corp. (f/k/a Nestor-BNA Holdings
Corporation), MRA Intermedco, Inc. (f/k/a Nestor-BNA, Inc.), MRA Staffing Systems, Inc. (f/k/a British Nursing Association,
Inc.), Remedium Group, Inc. (f/k/a Environmental Liability Management, Inc., E&C Liquidating Corp., Emerson & Cuming,
Inc.), Southern Oil, Resin & Fiberglass, Inc., Water Street Corporation, Axial Basin Ranch Company, CC Partners (f/k/a Cross
Country Staffing), Hayden-Gulch West Coal Company, H-G Coal Company.

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1. Notice of Agenda of Matters Scheduled for Hearing on May 3, 2001 at

8:00 a.m.

Dated: May 1, 2001 4
Patricia E. Cuniff )
LL

Sworn to and subscribed before
me this Ist day of May, 2001

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Grace Agenda Notice Service List for 5/3/01
Hearing

Case No. 01-1139

May 1, 2001

Document # 21821

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Hand Delivery

Clerk of the Court

United States Bankruptcy Court
824 North Market Street
Wilmington, DE 19801

Facsimile 310-201-0760

Hamid R. Rafatjoo, Esquire
(Counsel to Debtors and Debtors in
Possession)

Facsimile 302-658-6395
Steven M. Yoder, Esquire
(Local Counsel to DIP Lender)
(Special Request)

Facsimile 302-654-2067

William P. Bowden, Esquire

Matthew G. Zaleski, III, Esquire
(Local Counsel to Asbestos Claimants)
(Special Request)

Facsimile 302-658-3989
William H. Sudell, Jr., Esquire
Eric D. Schwartz, Esquire
(Special Request)

Facsimile 302-658-6548

Mark D. Collins, Esquire

Deborah E. Spivack, Esquire

(Counsel for The Chase Manhattan Bank)
(Special Request)

Facsimile 302-658-0380
Jeffrey C. Wisler, Esquire
Michelle McMahon, Esquire
(Special Request)

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Facsimile 302-656-2769

Francis A. Monaco, Jr., Esquire

Frederick B. Rosner, Esquire

(Counsel for Ingersoll-Rand Fluid Products)
(Special Request)

Facsimile 302-575-1714

Michael B. Joseph, Esquire

(Counsel for Property Damage Claimants)
(Special Request)

Facsimile 302-888-6333
Bruce E. Jameson, Esquire
(Special Request)

Facsimile 302-651-3001
Mark S. Chehi
(Special Request)

Facsimile 312-861-2200

James H.M. Sprayregen, Esquire
James Kapp, III, Esquire
(Counsel to Debtor)

(Special Request)

Facsimile 302-573-6497
Frank J. Perch, Esquire
(United States Trustee)
(Special Request)

Facsimile 416-977-5239
Derrick Tay, Esquire
(Canadian counsel for Debtor)
(Special Request)

Facsimile 410-531-4783
David B. Siegel

(W. R. Grace & Co.)
(Special Request)
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Facsimile 212-644-6755

Elihu Inselbuch, Esquire

Rita Tobin, Esquire

(Official Committee of Personal Injury
Claimants)

(Special Request)

Facsimile 212-806-6006

Lewis Kruger, Esquire

(Official Committee of Unsecured
Creditors)

(Special Request)

Facsimile 305-374-7593

Scott L. Baena, Esquire

(Official Committee of Property Damage
Claimants)

(Special Request)

Facsimile 312-993-9767
J. Douglas Bacon, Esquire
(Counsel to DIP Lender)
(Special Request)

Facsimile 843-216-9410

Nancy Worth Davis, Esquire
(Counsel to Asbestos Claimants)
(Special Request)

Facsimile 302-428-3180
William D. Sullivan, Esquire
(Counsel for ZAI Plaintiffs)

Facsimile 617-720-5012
Thomas M. Sobol, Esquire
Matthew L. Lucillo, Esquire
(Counsel for ZAI Plaintiffs)

Facsimile 212-278-1733
Jefffrey L. Glatzer, Esquire
Mark D. Silverschotz, Esquire
(Counsel for Credit Lyonnais)

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Facsimile 212-450-4800

Stephen H. Case, Esquire

Nancy L. Lazar, Esquire

David S. Tarvil, Esquire

(Counsel for Chase Manhatten Bank)

Facsimile 214-978-4044
Lewis T. LeClair, Esquire
(Counsel to Amber Plaintiffs)

Facsimile 415-956-1008
Elizabeth Cabraser, Esquire
Fabrice N. Vincent, Esquire
John Low-Beer, Esquire
(Proposed Class Counsel)
